           Case 1:19-cv-02909-RDB Document 39 Filed 10/07/19 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Northern Division

A/S Dan Bunkering Ltd.,                    *

       Plaintiff,                          *       Civil Action No. 1:19-cv-02909-RDB
v.
                                           *
Medmar Inc.,                                       IN ADMIRALTY
                                           *
       Defendant,
and                                        *

Archer Daniels Midland Company, et al.,    *

      Garnishees.                          *

       *       *      *          *   *     *       *      *      *       *      *

Cockett Marine Oil DMCC,                   *

and                                        *

Moran Towing Corporation                   *

       Intervening Plaintiffs,             *
v.
                                           *
Medmar Inc.,
                                           *
       Defendant,
and                                        *

Archer Daniels Midland Company, et al.,    *

      Garnishees.                          *

       *       *      *          *   *     *       *      *      *       *      *

                                     PROOF OF SERVICE

       I hereby certify that, on October 4, 2019, Process of Maritime Attachment and
         Case 1:19-cv-02909-RDB Document 39 Filed 10/07/19 Page 2 of 3



Garnishment, as well as copies of this Court’s Orders for the issuance of the Writs and for

service of the Writs, were served via hand-delivery on garnishees as follows:


                    GARNISHEE                               REGISTERED AGENT

    Archer Daniels Midland Company                   The Corporation Trust, Incorporated
    Mitsui & Co. (U.S.A.), Inc.                      2405 York Road, Suite 201
    Marubeni America Corporation                     Lutherville-Timonium, MD 21093-2264
    Transcor America, LLC

    The Andersons, Inc.                              National Registered Agents, Inc. of MD.
                                                     2405 York Road, Suite 201
                                                     Lutherville-Timonium, MD 21093-2264


       I further certify that, on October 7, 2019, Process of Maritime Attachment and

Garnishment, as well as copies of this Court’s Orders for the issuance of the Writs and for

service of the Writs, were served by Federal Express on garnishees as follows:


                    GARNISHEE                               REGISTERED AGENT

    Gavilon Fertilizer, LLC                          Capitol Corporate Services, Inc.
    Gavilon Ingredients, LLC                         3206 Tower Oaks Blvd, 4th Floor
                                                     Rockville, MD 20852

    Louis Dreyfus Claypool Holdings LLC              CSC-Lawyers Incorporating Service
    Bunge North America, Inc.                        Company
    Mitsui Foods, Inc.                               7 St. Paul Street, Suite 820
    XCoal Energy & Resources LLC                     Baltimore, MD 21202
    XCoal Energy & Resources,
      Limited Partnership

    Itochu International Inc.                        The United States Corporation
                                                     Company
                                                     7 St. Paul Street, Suite 820
                                                     Baltimore, MD 21202
         Case 1:19-cv-02909-RDB Document 39 Filed 10/07/19 Page 3 of 3



The Federal Express delivery confirmations are attached hereto as Exhibit A.

Dated: October 7, 2019.
                                                           /s/ J. Stephen Simms
                                                           J. Stephen Simms (#4269)
                                                           Simms Showers LLP
                                                           201 International Circle, Suite 250
                                                           Baltimore, Maryland 21030
                                                           Telephone: 410-783-5795
                                                           Facsimile:      410-510-1789
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                                                           Attorneys for Cockett Marine and
                                                           Moran.
